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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
    CESAR CELIS,

                   Plaintiff,
    v.
                                                                 Case No. 16:17-cv-00529-CEM-TBS
    TRANS UNION, LLC, and MARINER
    FINANCE, LLC,

                   Defendants.
                                                         /

                    DEFENDANT MARINER FINANCE, LLC’S
         NOTICE OF FINAL RESOLUTION OF ARBITRATION PROCEEDINGS
          AND UNOPPOSED MOTION TO CONFIRM ARBITRATION AWARD

         Defendant, Mariner Finance, LLC (“Mariner”), by and through its undersigned attorneys

and in accordance with Local Rule 3.01, sections 9 and 13 of the Federal Arbitration Act (“FAA”),

and this Court’s order granting Mariner’s motion to stay and compel arbitration (DE 38), herby

submits this, its Notice of Final Resolution of Arbitration Proceedings and Unopposed Motion to

Confirm Arbitration Award, and in support thereof, states as follows:

                                               BACKGROUND

         Plaintiff initiated this action against Mariner on March 24, 2017 alleging violations of the

Fair Credit Reporting Act. (See DE 1.) On July 24, 2017, this Court stayed these proceedings and

compelled arbitration of Plaintiff’s claims pursuant to a binding arbitration agreement between the

parties. (See DE 38.)1 Plaintiff submitted his claims to the American Arbitration Association on

August 21, 2018. The American Arbitration Association administratively appointed H. David Luff,

Esq. as the Arbitrator without objection on September 24, 2018. On or about March 26, 2019, the

Arbitrator entered an order granting summary judgment in favor of Mariner and dismissing


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  Among other things, the Court’s order requires Mariner to notify the Court within 14 days of the final resolution of
the arbitration proceedings. (DE 38.)
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Plaintiff’s claims with prejudice (the “Award”). True and correct copies of the parties’ arbitration

agreement, the notice of appointment of Arbitrator, and Award are attached hereto as required by

section 13 of the FAA. 9 U.S.C. § 13.

       Accordingly, Mariner hereby gives notice that the arbitration proceedings have been finally

resolved, and moves this Court for an order confirming the Award and entering final judgment in

Mariner’s favor. Counsel for Plaintiff does not object to the relief Mariner is requesting in this

motion.

                                       LEGAL ARGUMENT

       Mariner is entitled to a final judgment confirming the Award pursuant to section 9 of the

FAA, which states in pertinent part:

                If the parties in their agreement have agreed that a judgment of the
                court shall be entered upon the award made pursuant to the
                arbitration, and shall specify the court, then at any time within one
                year after the award is made any party to the arbitration may apply
                to the court so specified for an order confirming the award, and
                thereupon the court must grant such an order unless the award is
                vacated, modified, or corrected as prescribed in sections 10 and 11
                of this title. If no court is specified in the agreement of the parties,
                then such application may be made to the United States court in and
                for the district within which such award was made.

9 U.S.C. § 9.

       The parties’ arbitration agreement provides that “judgment upon the award rendered by the

Arbitrator(s) may be entered in any court having jurisdiction thereof.” (See attached; see also DE

25-2, last page.) This Court has general jurisdiction over the parties and entered an order referring

Plaintiff’s claims to arbitration in the first instance. (See DE 38.) Moreover, the ensuing arbitration

proceedings were conducted, and the Award was entered, in this this District. Accordingly, this

Court has jurisdiction to confirm the Award and enter final judgment in Mariner’s favor pursuant

to section 9 of the FAA. 9 U.S.C. § 9; see also Cortez Byrd Chips, Inc. v. Bill Harbert Const. Co.,



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120 S. Ct. 1331 (2002) (recognizing that “a court with the power to stay an action under § 3 [of

the FAA] also has the power to confirm any ensuing arbitration award”).

       The Award is “presumptively correct” and has not been vacated, modified, or corrected.

E.g., Lifecare Intern., Inc. v. CD Medical, Inc., 68 F.3d 429 (11th Cir. 1995) (“[T]he award is

presumptively correct, and will be vacated only if there is no ground whatsoever for the Panel’s

decision.”) (internal citations omitted). As a result, confirmation of the Award is mandatory. V5

Investments, LLC v. GoWaiter Bus. Holdings, LLC, 2010 F.Supp.3d 1329 (M.D. Fla. 2016)

(“[C]onfirmation is mandatory unless the arbitration award is vacated, modified, or corrected, or

unless the moving party fails to file its motion within the time required.”)

       WHEREFORE, Mariner respectfully requests that this Court enter an order granting this

motion, confirming the Award, entering final judgment in favor of Mariner, and granting Mariner

such other and further relief as the Court deems just and proper.



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                            CERTIFICATE OF COMPLIANCE

        In accordance with Local Rule 3.01(g), I hereby certify that I have conferred with counsel

for Plaintiff, Timothy L. Dave, Esq. regarding the contents of this motion. Mr. Dave does not

object to final judgment confirming the Award being entered pursuant to section 9 of the FAA.



                                             /s/ John P. Gaset, Esq.
                                             John P. Gaset, Esq.
                                             Florida Bar No. 98415




                                CERTIFICATE OF SERVICE


        I certify that on April 1, 2019, the foregoing was electronically filed with the Clerk of

Court using the CM/ECF electronic filing system which electronically notifies the following:

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